          Case 2:09-cr-00094-MCE Document 74 Filed 08/10/10 Page 1 of 2

                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF CALIFORNIA
               BEFORE THE HONORABLE MORRISON C. ENGLAND, JR.


UNITED STATES OF AMERICA,                    No. 2:09-cr-00094-MCE

          Plaintiff,

     v.                                      ORDER

JOSE SALVADOR SANCHEZ-PALOMINO
and FRANCISCO JAVIER VELASCO,                Date: 8/10/2010

           Defendants.
________________________________/


The Court received and reviewed the letter dated August 5, 2010 from Sergeant
Mike Wood as well as comments regarding the letter from counsel. The Court
agrees with and finds appropriate the following requests of the Federal
Defender:

          “1. With respect to request #3, we have not received
          the Shascom manual to interpret the previously
          disclosed mobile data terminal (MDT) records. If
          Shasta County believes it has been provided, we request
          that Shasta County indicate to whom it was provided,
          when, and on what page number(s) of the previous
          disclosure it can be found.

          2. I request an attestation under penalty of perjury
          relating to any records or documents that Shasta County
          claims do not exist. I believe this applies to
          requests #1, 5, 6, 7, and 8.

          3. With respect to request #9, request an attestation
          under penalty of perjury that CalMMET has not created
          any internal memoranda or training documents regarding
          Domestic Highway Enforcement, and that the only
          document that exists relating to that program is the
          policy provided by Sergeant Wood.

          4. With respect to request #3, we have not received
          any "numbered log of searches" for canine Maximus, nor
          have we received any "monthly reports" compiled from
          those numbered logs, nor have we received any "yearly
          reports" compiled from those monthly reports. If none
          of those items exist, we request an attestation under
          penalty of perjury to that effect. We have not received
          medical or veterinary records related to the August 21,
          2005 stabbing of police canine Maximus. If no such
          records exist, we request an attestation under penalty
          of perjury to that effect.”
          Case 2:09-cr-00094-MCE Document 74 Filed 08/10/10 Page 2 of 2

Shasta County is ordered to provide the requested response(s) and or
attestations not later than twelve (12) noon, Wednesday, August 11, 2010.
If the requested response(s)and or attestations are not received by the Court
and all counsel on or before that date and time, the Order to Show Cause
hearing will remain on calendar.

The Clerk's Office is directed to serve a copy of these minutes, by mail and
fax, to:

     The Custodian of Records
     Shasta County Sheriff's Office
     1525 Court Street
     Redding, California 96001
     Fax: 530-245-6173 and 530-245-6054

     Rubin E. Cruse, Jr., County Counsel
     Office of the County Counsel
     Shasta County Administration Center
     1450 Court Street, Suite 332
     Redding, California 96001-1675
     Fax: 530-225-5817


Dated: August 10, 2010

                                     _____________________________
                                     MORRISON C. ENGLAND, JR.
                                     UNITED STATES DISTRICT JUDGE
